      Case 1:20-mj-02250-CMM Document 2 Entered on FLSD Docket 02/20/2020 Page 1 of 1
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                                             M IN UTE O RD ER                                                       Page4

                                  M agistrate ludge Chris M .M cAliley
                      AtkinsBuildingCourthouse -6th Floor
                                             -- .
                                                                                 Date:2/19/2020 Time:1:30 p.m .
                                                                               f.k
    Defendant: PEDRO A.AQUINO-EUFRACIA J#: 20863-104            Case #: 20-2250-M J-M CALILEY SEALED
    AUSA:         xA .r                                   Attorney:       %          --                        '
    Violation: /NJ/WARR/COMP/CONSP/LAUNDERMONETARY            Surr/ArrestDate:2/18/2020                    Y0B:1978
             INSTRUM ENTS

    Proceeding: InitialAppearance                                CJA Appt:
    Bond/PTD Held:C Yes C No                RecommendedBond:
    Bond Setat:                                                      Co-signed by:
     II
      ---Isurrenderand/ordonotobtainpassports/traveldocs                  Language:
     r Reportto PTSas directed/or        x'saweek/monthby                  Dispos ion:             .
                                                                                                   .


       phone:       x'saweek/month inperson
         Random urine testing by Pretrial
     RC Services
         Treatm entasdeem ed necessary                                     AN             x
                                                                                              $            &c .
     C Refrainfrom excessive useofalcohol
     Nr Participateinmentalhealthassessment&treatment                                                  .       At

     Nr Maintainorseekfull-timeemployment/education
     Nr Nocontactwithvictims/witnesses,exceptthroughcounsel
     r No firearms                                                                             '           .
     Xr Nottoencumberproperty
     Nr Maynotvisittransportationestablishments
         Homeconfinement/ElectronicMonitoringand/or
         Curfew             pm to            am,paid by                                                                 .
     r Allowances:Medicalneeds,courtappearances,attorneyvisits,
         religious,em ploym ent
     C Travelextended to:                                                     Timefrom todayto                 excluded
     C Other:                                                                 from SpeedyTrialClock
    NEXT EOURT APPEAM NCE   Date:            Time:          Judge:                                Place:
    ReportRE Counsel:
    PTD/ ndHearing:         '         y (R-
    Prelim/Arraign Removal'         ' $
    status conference RE:
    D.
     A.R.         ïc
                   /-.l
                      iU).l                                      TimeinCourt: $
                                    s/chrisM .McAliley                                        M agistrateJudge
